         EXHIBIT A




Case 6:22-cv-03262-RK Document 1-2 Filed 10/11/22 Page 1 of 12
                                                                 44§.Wolters Kluwer
                                                                 :

                             PROCESS SERVER DELIVERY DETAILS



Date:                                        Fri, Sep 16, 2022
Server Name:                                 Drop Service




 Entity Served                 COSTCO WHOLESALE CORP

 Case Number                   2231CC00908

 J urisdiction                  MO



                                               Inserts




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                                                         5efe---d ce
            IN THE 31ST JUDICiA'CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                         Case Number: 2231-CC00908
 MICHAEL J CORDONNIER
 Plaintiff/Petitioner:                                     Plaintiff's/Petitioner's Attorney/Address
 L MILLER                                                  ROBIN ANNE KOOGLER
                                                           108 S PLEASANT ST
                                                       VS. I NDEPENDENCE, MO 64050
 Defendant/Respondent:                                     Court Address:
 COSTCO WHOLESALE CORPORATION                              JUDICIAL COURTS FACILITY
 DBA: COSTCO WHOLESALE #1486                               1010 N BOONVILLE AVE
 Nature of Suit:                                           SPRINGFIELD, MO 65802
 CC Employmnt Discrmntn 213.111                                                                                                Date File Stam 13)
                                                       Summons in Civil Case
  The State of Missouri to: COSTCO WHOLESALE CORPORATION
                            Alias:
                            DBA: COSTCO WHOLESALE #1486
 CT CORPORATION SYSTEM
 120 S CENTRAL AVE
 CLAYTON, MO 63105
      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading,judgment by default may
                                   be taken against you for the relief demanded in the petition.

      GREENE COUNTY                                08/31/2022                                     /s/ Thomas R. Barr by ar
                                                     Date                                                      Clerk
                                  Further Information:
                                                 Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by:(check one)
     D delivering a copy of the summons and petition to the defendant/respondent.
     o leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
                                                                      , a person at least 18 years of age residing therein.
     o (for service on a corporation) delivering a copy of the summons
                                                                 (name)
                                                                       and petition to:
                                                                                                                              (title).
     El other:

     Served at                                                                                                                        (address)
     in                                        (County/City of St. Louis), MO, on                              (date) at                   (time).


                   Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                Subscribed and sworn to before me on                                               (date).
          (Seal)
                                 My commission expires:
                                                                    Date                                       Notary Public
  Sheriff's Fees, if applicable
  Summons
  Non Est
  Sheriffs Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                                        (        miles @ $.       per mile)
  Total
  A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
  see Supreme Court Rule 54.


SJRC (07-21)SM30(SMCC)For Court Use Only: Document ID # 22-SMCC-1887 1 of 1 (2231-CC00908) Civil Procedure Form No. 1, SCR 54.01 —54.05,
                                                                                     54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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                                                                               2231-CC00908

               IN THE CIRCUIT COURT OF GREENE COUNTY,MISSOURI

L.MILLER                                             )
4021 NE 95th Ten.                                    )
Kansas City, MO 64156                                )
                                                     )
                        Plaintiff,                   )       Case No.
                                                     )
v.                                                   )
                                                     )       JURY TRIAL DEMANDED
COSTCO WHOLESALE CORPORATION                         )
D/B/A COSTCO WHOLESALE #1486                         )
279 N Eastgate Ave.                                  )
Springfield, MO 65802                                )
                                                     )
        Serve: CT Corporation System                 )
               120 S Central Ave.                    )
               Clayton, MO 63105                     )
                                                     )
                        Defendant.                   )

                                            PETITION

I.Preliminary Statement

        1.      COMES NOW,Plaintiff, L. Miller, by and through his attorneys of record, Kevin

Baldwin, Eric Vernon, Sylvia Hernandez and Robin Koogler of Baldwin & Vernon, and brings

this cause of action against Defendant Costco Wholesale Corporation d/b/a Costco Wholesale

#1486, hereinafter referred to as "Defendant Company." This action seeks declaratory, injunctive

and equitable relief, actual, compensatory and punitive damages, and costs and attorney's fees in

accordance with R.S.M.o §213 et. seq., and under Missouri Common Law for Defendant's conduct

and actions taken against Plaintiff.

II. Jurisdiction

        2.      Plaintiff is alleging claims of employment discrimination and retaliation under the

Missouri Human Rights Act(MHRA), 213.010, et seq., R.S.M0., for discrimination based upon

his age, disability, and failure to hire.



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        3.      Jurisdiction is invoked pursuant to §213.010 etseq. R.S.MO. A Right-To-Sue letter

was issued by the Missouri Commission on Human Rights (MCHR) on August 12, 2022. The

Right-To-Sue Letter, including a copy of Plaintiffs original charges filed with the Equal

Employment Opportunity Commission and the MCHR,is attached hereto as exhibit 1 and the facts

and circumstances stated therein are hereby incorporated as if fully set forth herein.

       4.      The Plaintiff, based upon reasonable belief at this time absent discovery, indicates

that the amount ofcompensatory and/or special damages in controversy is in excess of$25,000.00;

in addition, Plaintiffseeks declaratory, injunctive and equitable relief, as well as punitive damages,

pursuant to §213.010 et seq. R.S.MO. Costs and attorneys' fees may be awarded pursuant to

§213.010 et seq. R.S.MO. and are requested by Plaintiff.

III. Venue

       5.      This action properly lies in the Circuit Court of Greene County, Missouri, pursuant

to §213.010 et seq. R.S.MO., because the claim arose in this judicial district, and because unlawful

employment practices were committed in this judicial district.

IV. Parties

       6.      Plaintiff is a resident of the United States residing at 4021 NE 95th Ten., Kansas

City, MO 64156.

       7.      Defendant Costco Wholesale Corporation d/b/a Costco Wholesale #1486,

hereinafter referred as "Defendant Company," is an employer engaged in an industry affecting

commerce, and, upon information and belief, employs more than 100 regular employees.

Defendant Company is a corporation,(containing within its charter the requisite authority to sue

and be sued), and does business in this judicial district, doing business at various locations located

within Greene, Missouri, at relevant times referred to herein, and specifically at 279 N Eastgate




                                                  2
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Ave., Springfield, MO 65802. Defendant Company is an employer within the meaning of

§213.010, et seg., R.S.MO. Defendant Company is subject to the MHRA's prohibition on

employment discrimination and retaliation for its employees.

        10.     Prior to filing this Petition for Damages, Plaintiff sought administrative relief

through the Equal Employment Opportunity Commission and the Missouri Commission on

Human Rights to no avail and exhausted all required administrative procedures prior to filing this

Petition for Damages.

V.Facts Common to All Counts

       1 1.     Plaintiff, L. Miller, is a 57-year-old male, who applied for a pharmacy manager

position at Costco Wholesale Corporation d/b/a Costco Wholesale #1486("Defendant Company")

on or about June 12, 2021.

        12.     On or about June 14, 2021, Michael Gorski from Defendant Company called

Plaintiff to discuss his background and experience as well as to schedule an interview.

        13.     Plaintiff was led to believe that the interview was a mere formality to the

application process and that he was a good fit for the position.

        14.     On or about July 29, 2021, Plaintiff drove to Springfield for his interview and met

with Michael.

       15.      On the date of the interview, Plaintiff was on a knee scooter due to the amputation

of his lower leg.

        16.     The interview lasted about forty-five minutes.

        17.     Approximately two days later, Plaintiff received an e-mail from Defendant

Company saying thank you for applying, but they had decided to move onto another candidate.




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         18.    It is Plaintiffs contention that Defendant Company failed to hire him on the basis

 of his disability (amputation of lower extremity) and his age.

         19.    Plaintiff has experienced, is now experiencing, and will continue to experience into

 the indefinite future, garden variety emotional pain, suffering, inconvenience, mental anguish, loss

 of enjoyment of life, and other non-pecuniary losses as a direct result of Defendant Company's

 conduct.

        20.     Plaintiff has suffered and will continue to suffer future pecuniary losses as a direct

 result of Defendant Company's conduct.

        21.     Defendant Company and its managers and other employees actively engaged in

 discrimination against Plaintiff with malice or in reckless indifference to her right to be free from

such discrimination under the MHRA.

 VI. Causes of Action

                                              COUNT I

                                  AGE DISCRIMINATION
                              AGAINST DEFENDANT COMPANY

        22.     Plaintiff hereby incorporates and re-alleges all previously alleged Paragraphs as if

fully set forth herein.

        23.     Plaintiff is an individual subject to the protection ofthe MHRA based upon the fact

that he was over 40 years old at the time of the events alleged herein.

        24.     Defendant Company's actions, as noted above, constituted discrimination against

the Plaintiff in violation of the MHRA.

        25.     Defendant Company failed to hire Plaintiff's and Plaintiff's age was a motivating

factor in the decision to not hire him for employment.

        26.     At the time these actions were taken by Defendant Company, Defendant Company



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knew these actions were unlawful and that they were done with an evil motive and/or reckless

indifference to the rights of Plaintiff to be free from such discrimination.

        27.     Defendant Company's actions were unlawful employment practices in violation of

the MHRA.

        28.     Plaintiff has been damaged by Defendant Company's unlawful employment

actions.

                                            COUNT II

    DISCRIMINATION BASED UPON DISABILITY/PERCEIVED/REGARDED AS
              DISABELED AGAINST DEFENDANT COMPANY

        29.     Plaintiff hereby incorporates and re-alleges all previously alleged Paragraphs as if

fully set forth herein.

        30.     At the time of the unlawful employment actions, Plaintiff was an individual with a

disability and, as such, was a member of the protected group under §213 et seg., R.S.MO.

        31.     Defendants perceived Plaintiff as being disabled and that perception was a

motivatingfactor in the decision to not hire Plaintiff

        32.     At all times alleged herein, Plaintiff was an individual with a disability and was

capable of performing the essential functions of his job with or without reasonable

accommodations.

        33.     At the time these actions were taken by Defendant Company,Defendant Company

knew these actions were unlawful and that they were done with an evil motive and/or reckless

indifference to the rights of Plaintiff to be free from such discrimination.

        34.     Defendant Company's actions were unlawful employment practices in violation of

the MHRA.

        35.     Plaintiff has been damaged by Defendant Company's unlawful employment



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actions.

VII. Prayer for Relief

       36.      Wherefore, Plaintiff prays that this Court:

                 a. declare the conduct engaged in by Defendant Company to be in violation of

                     Plaintiffs rights;

                  b. enjoin Defendant Company, and its managers/supervisors from engaging in

                     such conduct;

                 c. restore Plaintiff to his rightful position or, in lieu of reinstatement, order front

                     salary and benefits for the period remaining until normal retirement;

                 d. award Plaintiff equitable relief of back salary and fringe benefits up to the

                     date of reinstatement and prejudgment interest for that entire period or front

                     salary and benefits accrual;

                 e. award Plaintiff compensatory, punitive and liquidated damages against all

                     Defendants;

                 f. award Plaintiff damages for emotional pain and suffering;

                 g. award Plaintiff his costs and attorneys' fees; and

                 h. grant such other relief as it may deem just and proper.

                                DEMAND FOR A JURY TRIAL

Plaintiff demands trial by jury on all issues triable by a jury in this complaint.



                                               Respectfully submitted,

                                           By: /s/ Robin Koogler
                                              Kevin Baldwin, MO Bar No. #49101
                                              Eric Vernon, MO Bar No. #47007
                                              Sylvia Hernandez, MO Bar No. #70670



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                            Robin Koogler, MO Bar No. #71979
                            BALDWIN & VERNON
                            108 S. Pleasant St.
                            Independence, MO 64050
                            Tel: (816)842-1102
                            Fax (816) 842-1104
                            Kevin@bvalaw.net
                            Eric@bvalaw.net
                            Sylvia@bvalaw.net
                            Robin @bvalaw.net
                            ATTORNEY FOR PLAINTIFF




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                                                                                                                                                                                Electronically Filed - Greene - August 30, 2022- 01:27 PM
                                    MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONE2231-CC00908
                              MISSOURI COMMISSION ON HUMAN RIGHTS
  MICHAEL L. PARSON                               ANNA S. Hui                                          TIMOTHY FABER, DMIN.                             ALISA WARREN,PH.D.
     GOVERNOR                                 DEPARTMENT DIRECTOR                                        COMMISSION CHAIR                               EXECUTIVE DIRECTOR



August 12, 2022


Lance Miller
4021 N.E. 95th Terrace
Kansas City, MO 64156
Via Complainant Attorney Email

                                                                NOTICE OF RIGHT TO SUE


RE:      Miller vs. Costco Wholesale
         FE-10/21-33742 563-2022-00237

The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this
notice of your right to sue under the Missouri Human Rights Act because you have requested a notice of
your right to sue.

This letter indicates your right to bring a civil action within 90 days of this notice against the respondent(s)
named in the complaint. Such an action may be brought in any circuit court in any county in which the
unlawful discriminatory practice is alleged to have occurred but it must be brought no later than two years
after the alleged cause occurred or its reasonable discovery. Upon issuance of this notice, the MCHR is
terminating all proceedings relating to the complaint. No person may file or reinstate a complaint with the
MCHR after the issuance of a notice of right to sue relating to the same practice or act. You are hereby
notified of your right to sue the Respondent(s) named in your complaint in state circuit court. THIS MUST
BE DONE WITHIN 90 DAYS OF THE DATE OF THIS NOTICE OR YOUR RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby administratively closing this case and
terminating all MCHR proceedings relating to it. This notice of right to sue has no effect on the suit-filing
period for any federal claims. This notice of right to sue is being issued as required by Section 213.111.1,
RSMo, because it has been over 180 days after the filing of this complaint and MCHR has not completed
its administrative processing.



(continued on next page)




                                                             0
       JEFFERSON CITY OFFICE                        ST. LOUIS OFFICE                           KANSAS CITY OFFICE                              SIKESTON OFFICE
         421 E. DUNKLIN ST.                  111 N. 7TH STREET, SUITE 903                         P.O. Box 1129                         106 ARTHUR STREET, SUITED
           P.O. Box 1129                       ST. Louis, MO 63101-2100                   JEFFERSON CITY,65102-1129                      SIKESTON, MO 63801-5454
   JEFFERSON CITY, MO 65102-1129                 PHONE: 314-340-7590                           FAX: 816-889-3582                              FAX: 573-472-5321
        PHONE: 573-751-3325                        FAX: 314-340-7238
         FAX: 573-751-2905
     Missouri Commission on Human Rights is an equal opportuniry,employer/progrant. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                      TDD/TTY: 1-800-735-2966(TDD) Relay Missouri: 711
                                                 www.labor.mo.gov/mohumanrights            E-Mail: mchr@labor.mo.gov

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                                                                                of 12  1.
                                                                                                                                                                              Electronically Filed - Greene - August 30. 2022- 01:27 PM
                                                         RE: Miller vs. Costco Wholesale
                                                        FE-10/21-33742 563-2022-00237


In addition to the process described above, if any party is aggrieved by this decision of the MCHR,that
party may appeal the decision by filing a petition under § 536.150 of the Revised Statutes of Missouri.
Any such petition must be filed in the Circuit Court of Cole County.


Respectfully,




Alisa Warren, Ph.D.
Executive Director


Costco Wholesale
Human Resources Director
279 N. Eastgate Avenue
Springfield, MO 65802

Kassie Vargas, Paralegal
Baldwin & Vernon
Via Email




      JEFFERSON CITY OFFICE
                                                             E
                                                   ST. LOUIS OFFICE                          KANSAS CITY OFFICE                              SIKESTON OFFICE
        421 E. DUNKUN Si.                   111 N. 7TH STREET, SUITE 903                        P.O. Box 1129                         106 ARTHUR STREET. SUITED
          P.O. Box 1129                       ST. LOUIS, MO 63101-2100                  JEFFERSON CITY,65102-1129                      SIKESTON, MO 63801-5454
  JEFFERSON CITY, MO 65102-1129                 PHONE: 314-340-7590                           FAX: 816-889-3582                             FAX: 573-472-5321
       PHONE: 573-751-3325                        FAX: 314-340-7238
        FAX: 573-751-2905
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                                                www.labor.mo.gov/mohumanrights           E-Mail: mchr@labor.mo.gov

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